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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

UNITED STATES OF AMERICA                   §
                                           §
                                           §
                                           §
VS.                                        §   CRIMINAL NO. H-10-108-1
                                           §
                                           §
                                           §
ANTONIO DURAN                              §


                                      ORDER

       Defendant Duran filed an unopposed motion for continuance of the sentencing

hearing. (Docket Entry No. 159 ). The motion is GRANTED. The sentencing hearing is reset

to January 24, 2012, at 9:00 a.m.

             SIGNED on October 21, 2011, at Houston, Texas.

                                         ______________________________________
                                                    Lee H. Rosenthal
                                               United States District Judge
